Case 3:17-cv-00072-NKM-JCH Document 575-3 Filed 10/18/19 Page 1 of 4 Pageid#: 7047




                 EXHIBIT 3
Case 3:17-cv-00072-NKM-JCH Document 575-3 Filed 10/18/19 Page 2 of 4 Pageid#: 7048


   Edward ReBrook, ESQ <rebrooklaw@gmail.com>
   Wed 8/21/2019 2:19 PM
   Mr. Bloch:

   I am very happy to hear that. We can most certainly send them electronically.

   Best regards,


   W. EDWARD REBROOK, IV
   Attorney & Counselor at Law
   THE REBROOK LAW OFFICE
   6013 Clerkenwell Court
   Burke, Virginia 22015
   Mobile: 571-215-9006
   Email: edward@rebrooklaw.com

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   work-product doctrine. It is intended solely for the use of the addressee. If you have received this message in error, please notify the sender
   immediately by telephone (571.215.9006) or by electronic mail and delete this message and all copies and backups thereof. Thank you.
   On Wed, Aug 21, 2019 at 10:49 AM Michael Bloch <mbloch@kaplanhecker.com> wrote:

              Mr. ReBrook,



              We typically send and receive documents from the defendants in an
              electronic format. We can arrange for our vendor, Epiq, to send you
              a link with instructions on how to upload the documents electronically
              to Epiq. There should be no cost associated with this. Please let us
              know promptly whether you’d like us to make those arrangements.



              Thanks,



              Mike

              From: Michael Bloch
              Sent: Monday, August 19, 2019 7:49 PM
              To: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
              Subject: RE: Discovery



              Mr. ReBrook,
Case 3:17-cv-00072-NKM-JCH Document 575-3 Filed 10/18/19 Page 3 of 4 Pageid#: 7049


         Are the documents in hard copy or some other format?



         Also, if you have withheld any documents on the basis of privilege,
         you will need to make the requisite disclosures (i.e. a privilege log)
         pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure.




         Michael Bloch | Kaplan Hecker & Fink LLP
                      ​




         Counsel
         350 Fifth Avenue | Suite 7110
         New York, New York 10118
         (W) 929.367.4573 | (M) 646.398.0345
         mbloch@kaplanhecker.com


         From: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
         Sent: Sunday, August 18, 2019 6:33 PM
         To: Michael Bloch <mbloch@kaplanhecker.com>
         Subject: Discovery



         Mr. Bloch:



         My human client has gone through all of the paperwork generated by the
         vendor and removed all privileged communications. There weren’t many.
         What’s left is quite voluminous. How would you like to receive it?
         Do I send you a bill for shipping?

         Best regards,



         W. EDWARD REBROOK, IV

         Attorney & Counselor at Law

         THE REBROOK LAW OFFICE

         6013 Clerkenwell Court

         Burke, Virginia 22015
Case 3:17-cv-00072-NKM-JCH Document 575-3 Filed 10/18/19 Page 4 of 4 Pageid#: 7050


         Mobile: 571-215-9006

         Email:        edward@rebrooklaw.com



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         you.
